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            Exhibit 28
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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)


                                     Trademark/Service Mark Application, Principal Register
                                                               Serial Number: 86459824
                                                               Filing Date: 11/20/2014


                                                    The table below presents the data as entered.

                                           Input Field                                                 Entered
             SERIAL NUMBER                                                 86459824
             MARK INFORMATION
                                                                           \\TICRS\EXPORT16\IMAGEOUT
             *MARK
                                                                           16\864\598\86459824\xml1\ APP0002.JPG
             SPECIAL FORM                                                  YES
             USPTO-GENERATED IMAGE                                         NO
             LITERAL ELEMENT                                               ZENU
             COLOR MARK                                                    YES
             COLOR(S) CLAIMED
             (If applicable)
                                                                           The color(s) red is/are claimed as a feature of the mark.

             *DESCRIPTION OF THE MARK                                      The mark consists of the literal element ZENU displayed in
             (and Color Location, if applicable)                           stylized font with an underline.
             PIXEL COUNT ACCEPTABLE                                        YES
             PIXEL COUNT                                                   768 x 614
             REGISTER                                                      Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.
             *STREET                                                       Calle 2, No 50 - 561
             *CITY                                                         Medellin
             *COUNTRY                                                      Colombia
             *ZIP/POSTAL CODE
                                                                           0
             (Required for U.S. applicants only)

             EMAIL ADDRESS                                                 XXXX
             LEGAL ENTITY INFORMATION
             TYPE                                                          sociedad por acciones simplificada (s.a.s.)
             STATE/COUNTRY WHERE LEGALLY ORGANIZED                         Colombia
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                           029
                                                                           Meat, fish, poultry and game; meat extracts; canned, frozen,
             *IDENTIFICATION                                               dried and cooked fruits and vegetables; jellies, jams, compotes;
                                                                           eggs; milk and dairy products; edible oils and fats
             FILING BASIS                                                  SECTION 44(e)
                  FOREIGN REGISTRATION
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   NUMBER
                                         435990

   FOREIGN REGISTRATION
                                         Colombia
   COUNTRY

   FOREIGN REGISTRATION
                                         06/03/2011
   DATE

   FOREIGN REGISTRATION
   EXPIRATION DATE
                                         11/30/2021

 ATTORNEY INFORMATION
 NAME                                    Clark W. Lackert
 ATTORNEY DOCKET NUMBER                  506405.20001
 FIRM NAME                               Reed Smith LLP
 STREET                                  599 Lexington Avenue
 CITY                                    New York
 STATE                                   New York
 COUNTRY                                 United States
 ZIP/POSTAL CODE                         10022
 PHONE                                   212-521-5400
 FAX                                     212-521-5450
 EMAIL ADDRESS                           nycipdocketing@reedsmith.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
 OTHER APPOINTED ATTORNEY                Keith E. Sharkin
 CORRESPONDENCE INFORMATION
 NAME                                    Clark W. Lackert
 FIRM NAME                               Reed Smith LLP
 STREET                                  599 Lexington Avenue
 CITY                                    New York
 STATE                                   New York
 COUNTRY                                 United States
 ZIP/POSTAL CODE                         10022
 PHONE                                   212-521-5400
 FAX                                     212-521-5450
                                         nycipdocketing@reedsmith.com;clackert@reedsmith.com;
 EMAIL ADDRESS
                                         ksharkin@reedsmith.com; jgoodwill@reedsmith.com
 AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
 FEE INFORMATION
 NUMBER OF CLASSES                       1
 FEE PER CLASS                           325
 *TOTAL FEE DUE                          325
 *TOTAL FEE PAID                         325
 SIGNATURE INFORMATION
Case 2:16-cv-06576-KM-MAH Document 266-28 Filed 10/10/22 Page 4 of 7 PageID: 11962


 SIGNATURE                               NOT PROVIDED
 SIGNATORY'S NAME                        NOT PROVIDED
 SIGNATORY'S POSITION                    NOT PROVIDED
 DATE SIGNED                             NOT PROVIDED
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PTO Form 1478 (Rev 9/2006)
OMB No. 0651-0009 (Exp 12/31/2014)




                                     Trademark/Service Mark Application, Principal Register

                                                           Serial Number: 86459824
                                                           Filing Date: 11/20/2014
To the Commissioner for Trademarks:

MARK: ZENU (stylized and/or with design, see mark)

The literal element of the mark consists of ZENU.
The color(s) red is/are claimed as a feature of the mark. The mark consists of the literal element ZENU displayed in stylized font with an
underline.
The applicant, INDUSTRIA DE ALIMENTOS ZENÚ S.A.S., a sociedad por acciones simplificada (s.a.s.) legally organized under the laws of
Colombia, having an address of
   Calle 2, No 50 - 561
   Medellin 0
   Colombia


requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

    International Class 029: Meat, fish, poultry and game; meat extracts; canned, frozen, dried and cooked fruits and vegetables; jellies, jams,
compotes; eggs; milk and dairy products; edible oils and fats
Based on Foreign Registration: Applicant has a bona fide intention to use the mark in commerce on or in connection with the identified goods
and/or services, and will submit a copy of Colombia registration number 435990, registered 06/03/2011 with a renewal date of __________ and
an expiration date of 11/30/2021, and translation thereof, if appropriate. 15 U. S.C. Section 1126(e), as amended.



The applicant's current Attorney Information:
   Clark W. Lackert and Keith E. Sharkin of Reed Smith LLP
   599 Lexington Avenue
   New York, New York 10022
   United States
The attorney docket/reference number is 506405.20001.

The applicant's current Correspondence Information:
   Clark W. Lackert
   Reed Smith LLP
   599 Lexington Avenue
   New York, New York 10022
   212-521-5400(phone)
   212-521-5450(fax)
   nycipdocketing@reedsmith.com;clackert@reedsmith.com; ksharkin@reedsmith.com; jgoodwill@reedsmith.com (authorized)

A fee payment in the amount of $325 has been submitted with the application, representing payment for 1 class(es).

                                                                   Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. Section 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant or the applicant's related company or licensee is using the mark in commerce on or
in connection with the goods/services in the application, and such use by the applicant's related company or licensee inures to the benefit of the
applicant; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed an
application under 15 U.S.C. Section 1051(b), Section 1126(d), and/or Section 1126(e), the applicant is entitled to use the mark in commerce; the
applicant has a bona fide intention to use or use through the applicant's related company or licensee the mark in commerce on or in connection
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with the goods/services in the application. The signatory believes that to the best of the signatory's knowledge and belief, no other person has the
right to use the mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
goods/services of such other person, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and
the like are punishable by fine or imprisonment, or both, under 18 U.S.C. Section 1001, and that such willful false statements and the like may
jeopardize the validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are
true and all statements made on information and belief are believed to be true.

Declaration Signature

Signature: Not Provided Date: Not Provided
Signatory's Name: Not Provided
Signatory's Position: Not Provided
RAM Sale Number: 86459824
RAM Accounting Date: 11/20/2014

Serial Number: 86459824
Internet Transmission Date: Thu Nov 20 11:42:39 EST 2014
TEAS Stamp: USPTO/BAS-XX.XXX.XX.X-201411201142397306
79-86459824-500c0bdaa28eb67e194ea24be2a6
62349c185623e9a32dea03a4765b549ae0a9-CC-
10172-20141120113824108941
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